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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                        CHARLOTTESVILLE DIVISION


CHRISTOPHER SEAMAN and
ELIZABETH ALLISON LYONS,
individually and on behalf of C.S., a minor,
et al.,
                                                 No. 3:22-cv-6-NKM
              Plaintiffs,

       v.

THE COMMONWEALTH OF VIRGINIA,
et al.,

              Defendants.


                      DEFENDANTS’ RESPONSE TO PLAINTIFFS’
                      NOTICE OF SUPPLEMENTAL AUTHORITY

      Plaintiffs’ notice of supplemental authority does not support their request for

a temporary restraining order and preliminary injunction.

      1. The Secretary of Education’s Letter to Stakeholders undermines Plaintiffs’

standing arguments. The letter links to guidance which instructs “school district[s]”

that whether “some degree of masking” would ever be “necessary” as a reasonable

modification “is necessarily a fact-specific inquiry depending on each school’s

particular circumstances and the modifications sought by their students.” U.S. Dep’t

of Ed., Disability Rights (Feb. 24, 2022), https://tinyurl.com/yc2x49ns. But Plaintiffs

have not sued the school districts, nor are their claims premised on “fact-specific

inquir[ies] depending on each school’s particular circumstances and the modifications

sought by their students.” Id. They have instead sued statewide officials who play no
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role in the interactive process under Title II. And they have requested a statewide

injunction that would not provide the Plaintiffs the modification they seek—the

universal and indefinite masking of their classmates. Instead, the order would merely

advise school divisions on the extent of their discretion under the ADA, and

apparently open the door for Plaintiffs to later sue the school districts if they exercise

their discretion to offer reasonable modifications other than the forced masking rules

Plaintiffs demand. See Reply. Br. 17. This argument further shows that Plaintiffs’

suit is a request for an advisory opinion that Article III prohibits.

      2. Plaintiffs argue that federal investigations of masking rules in states other

than Virginia and federal amicus briefs in suits challenging the masking rules of

states other than Virginia shed light on the lawfulness of Executive Order 2 and

Senate Bill 739. This argument is misplaced for several reasons.

      First, Plaintiffs cite no federal position regarding Executive Order 2 or Senate

Bill 739. As to the federal investigations, Plaintiffs cite only an August 2021 press

release noting that the Department of Education had “opened directed investigations

in five states exploring whether statewide prohibitions on universal indoor masking

discriminate against students with disabilities.” U.S. Dep’t of Ed., Department of

Education's Office for Civil Rights Opens Investigations in Five States Regarding

Prohibitions     of    Universal      Indoor     Masking       (August      30,    2021),

https://tinyurl.com/y5e4mawn. But Plaintiffs cite nothing regarding the conclusions

of those investigations; as the agency itself noted, “opening this directed investigation

in no way implies that [the agency] has decided whether there has been a violation of



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a law.” Suzanne B. Goldberg, Letter to the Iowa Department of Education (Aug. 30,

2021), https://tinyurl.com/4rch29sw. In addition, Virginia was not one of the five

states investigated. The fact that the Department of Education opened an

investigation into other states regarding their policies in no way implies that the

federal government has concluded that Executive Order 2 or Senate Bill 739 are

unlawful.

       Second, while Plaintiffs point to amicus briefs that the Department of Justice

filed in cases involving Texas and South Carolina masking policies, the federal

government filed no such brief here. As described in Virginia’s briefs, both the

pandemic itself and federal guidance regarding masking have changed dramatically

in recent months. See, e.g., Defs.’ BIO at 3–7. Thus, again, Plaintiffs cannot infer a

federal position on Executive Order 2 or Senate Bill 739 from filings in other cases,

particularly given that the federal government’s silence in this case stands in marked

contrast to its past participation in other masking litigation. Further, in its amicus

briefs, the federal government explained that “school districts” are “the entities

primarily responsible for complying with Title II and Section 504,” and that those

statutes require “a fact-specific and case-by-case inquiry” into whether a particular

modification is reasonable under the circumstances, which “may” or “may not” lead

school districts to conclude that some degree of masking is necessary. Brief for Dep’t

of Justice as Amicus Curiae in Support of Plaintiffs-Appellees at 16, Disability Rights

S.C. v. McMaster, 24 F.4th 893 (4th Cir. 2022) (No. 21-2070). This position again

underscores that Plaintiffs are seeking a nonjusticiable advisory opinion, given that



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their school districts are not parties to this suit and that no such case-by-case, fact-

specific inquiry has been conducted here.

      Third, the lawsuits challenging the Texas and South Carolina masking laws

have not succeeded. The Fourth Circuit rejected a challenge to South Carolina’s law

prohibiting forced masking mandates in schools for lack of standing, see Disability

Rights S.C. v. McMaster, 24 F.3d 893 (4th Cir. 2022), notwithstanding the federal

government’s amicus brief. Similarly, the Fifth Circuit stayed the district court’s

injunction of a Texas executive order prohibiting local forced masking mandates in

schools on the ground that the plaintiffs likely lacked standing and likely failed to

exhaust their administrative remedies—the same arguments Defendant press in this

case. See E.T. v. Paxton, 19 F.4th 760, 765–68 (5th Cir. 2021). Reliance in this case

on the federal government’s amicus briefs filed in those cases is therefore deeply

misplaced.

      For the foregoing reasons, Plaintiffs’ supplemental sources not only fail to

support their request for temporary relief, but in fact undercut it. This Court should

accordingly deny Plaintiffs’ motion for a temporary restraining order and preliminary

injunction.



March 10, 2022                          Respectfully submitted,

                                        By: /s/ Andrew N. Ferguson
                                        ANDREW N. FERGUSON (Va. Bar #86583)
                                         Solicitor General




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                           CERTIFICATE OF SERVICE

      I hereby certify that on the 10th day of March, 2022, I electronically filed the

foregoing Response to Plaintiffs’ Notice of Supplemental Authority with the Clerk of

the Court using the CM/ECF system, which will send a notification of such filing

(NEF) to all CM/ECF participants.



                                       /s/ Andrew N. Ferguson
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